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IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF OKLAHOMA

BRYAN SHANE JONES,

Plaintiff,

vs. NO. CIV-15-0978-HE

NEEDHAM TRUCKING, LLC,

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Defendant.
ADMINISTRATIVE CLOSING ORDER

The court is advised that the parties have reached a compromise and settlement.
Accordingly, the Clerk of Court is directed to administratively terminate this action without
prejudice to the right of a party to file a stipulation or order of dismissal or, for good cause
shown upon motion, to reopen the proceeding for any other purpose necessary to obtain a
final determination of the action.

If, within forty-five (45) days from the date of this order, closing papers have not
been filed or leave sought to reopen the case, this action shall be deemed dismissed with
prejudice.

IT IS SO ORDERED.

Dated this 4th day of May, 2018.

Slik

JQE HEATON
HJ¥F U.S. DISTRICT JUDGE
